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June 22, 2018

The Honorable Craig Whitley
U.S. Bankruptcy Judge
111 Charles R. Jonas Bldg.
401 W. Trade Street
Charlotte, NC 28202

Re:    In re: TSI Holdings, LLC et al., W.D.N.C. Bankruptcy Court case no. 17-30132

Dear Judge Whitley:

        I represent Dennis and Robin Scala, victims of Rick Siskey’s Ponzi scheme. Dennis and
Robin earned the funds they invested in TSI Holdings from a lifetime of hard work in the
residential construction business. They are not wealthy people, and the loss of the money they
entrusted to Mr. Siskey has endangered their retirement plans, their commitments to their
children, and the small homebuilding business they operate together.

       The Scalas asked me to express to you their extreme frustration with Stone Street
Partners and the delay and harm resulting from Stone Street’s conduct in the bankruptcy
proceedings. Stone Street did not invest in any of the bankrupt entities, and we do not believe it
has any valid claim in the bankruptcy.

        Unlike the other claimants, Rick Siskey did not use TSI Holdings, WSC Holdings, or
SouthPark Partners to steal from Stone Street. To the extent that Stone Street claims that Mr.
Siskey damaged their business, the same is true for the Scalas. When the Siskey fraud was
revealed, Dennis and Robin lost the ability to use their investment in TSI as collateral for
construction loans. Without their TSI investment as collateral, they have not been able to obtain
funding to build a home on a lot they had purchased, and they now have to sell the land where
they planned to build a custom home to sell. After 33 years, Mr. Scala is no longer self-
employed and has taken a position as a construction foreman. Although the Scalas’ small
homebuilding business survived the deep recession in the late 2000s, it may not survive this,
even if they are ultimately able to recover some of their original investment.

        The damage the Scalas suffered is more direct than any damage suffered by Stone
Street, but the Scalas have no bankruptcy claim for these injuries. Under the Net Investment
Method established by the Court, claims are based on the “amount of cash actually deposited
by a claimant into an account with the debtor [minus] any amounts actually withdrawn as return
of principal, profits or interest.” This approach does not permit the Scalas to pursue claims for
the damage to their business, and they cannot understand why Stone Street should be in a
different position in attempting to pursue indirect and unspecified business harms it allegedly


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suffered. Indeed, other victims who did not invest directly in TSI, WSC, or SouthPark Partners
have already had their claims disallowed by the Court, as with the Outside Investors and
Premier Fund Claimants. (And unlike Stone Street, these victims were apparently told by Mr.
Siskey that they would be investing in one of the bankrupt entities, an equitable argument Stone
Street cannot make.)

        Beyond the fact that Stone Street and its companions are asserting $26 million in claims
for purported business losses that Mr. Siskey’s actual victims are not permitted to make, it is
actively interfering with the Trustee’s efforts to return funds to investors. Stone Street objected
to the Trustee’s first attempt at an interim distribution, and they are now attempting to do so
again. These efforts compound the suffering of the actual victims of the fraud. Every dollar the
Trustee is forced to spend dealing with Stone Street comes out of the pockets of Mr. Siskey’s
victims, and every day that passes without a distribution because of Stone Street’s interference
is an additional harm.

        In short, the Scalas have no relationship with Stone Street, formerly Siskey Capital, and
they find it extremely frustrating that Rick Siskey’s former business partner is interfering with the
return of stolen funds to his victims. They are concerned that Stone Street is attempting to
leverage its bankruptcy claim to force the Trustee into a settlement that would take funds away
from victims, and they would oppose any such settlement. Indeed, to the extent any release of
potential claims against Stone Street could be released as part of a broader settlement, the
Scalas believe that Stone Street should be contributing funds to the investor victims, not
receiving money at their expense.

        The Scalas ask that the Court overrule Stone Street’s objection to the proposed interim
distribution and the Trustee’s proposed resolution plan, reject its bankruptcy claim, and move
this case as quickly as possible towards a resolution that will return the funds Mr. Siskey stole to
the Scalas and the other victims of this fraud.

Sincerely,

ROBINSON, BRADSHAW & HINSON, P.A.



Adam K. Doerr
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                                CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was electronically filed with CM/ECF which
electronically served the following counsel of record:

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       I further certify that the foregoing was served by first class mail, postage prepaid on the
following non CM/ECF party:

       TSI Holdings, LLC
       4521 Sharon Road, Suite 450
       Charlotte, NC 28211-4278

       This 22nd day of June, 2018.

                                                    /s/ Adam K. Doerr
                                                    Adam K. Doerr
                                                    N.C. Bar No. 37807
                                                    ROBINSON BRADSHAW & HINSON,
                                                    P.A.
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